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  SENT VIA EMAIL

  The United States of America
  United States Department of Justice, Civil Division
  P.O. Box 875, Ben Franklin Station
  Washington, DC 20044-0875
  c/o Shane Huang, Esq
  shane.huang@usdoj.gov

  The United States Marshall of the District of Hawaii
  300 Ala Moana Blvd., Room 2800
  Honolulu, HI 96850
  c/o Channing Iwamuro
  channing.iwamuro@usdoj.gov

  Dated: May 13, 2024

  Dear Sirs,

  Reference is made to that certain Order Approving the United States of America’s Unopposed
  Motion for Order Approving Execution Sale Procedures (the “Sale Procedures Order”), entered
  on April 22, 2024 by the U.S. District Court for District of Hawaii (the “Court”) in the case of
  United States of America v. Sandwich Isles Communications, Inc., Civ. No. 18-00145 JMS-RT
  (the “Litigation”) at Docket No. 535, as well as the related Execution Sale Term Sheet annexed to
  the Sale Procedures Order (the “Term Sheet”). Capitalized terms used herein without definition
  have the meanings given them in the Sale Procedures Order or the Term Sheet.

  Pursuant to the Sale Procedures Order, Hawaiian Telcom, Inc. (“HTI”), a Hawaiian corporation,
  is pleased to submit this written bid (the “Bid”) to purchase certain assets owned by Sandwich
  Isles Communications, Inc. (“SIC”) in accordance with the Sale Procedures Order and as more
  specifically set forth below (the “Sale”).

     A. INTRODUCTION

               1. RUS’ existing investment in the Hawaiian Home Lands. As an agency of the
                  United States government, the Rural Utility Service (“RUS”) fulfills its mission of
                  facilitating universal access to modern communications services by, among other
                  things, financing through grants and loans the buildout and operation of
                  telecommunications networks in underserved areas. In this particular matter, RUS


                                                                                             EXHIBIT B

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                 financed the buildout and operations of a network providing telephone service 1 on
                 the Hawaiian Home Lands, through a series of loans made to SIC. Using these
                 funds provided by RUS, SIC built and operated a telecommunications network and
                 continues to this day to provide telephone services through this network financed
                 by RUS. As evidenced by its Tariff on file with the Hawaii Public Utilities
                 Commission (“HPUC”), SIC’s telephone services have historically included
                 tariffed voice, long-distance, VOIP, bundled high speed internet and data. The
                 assets financed by the RUS and used by SIC to provide telephone service are those
                 more fully described in the loan documentation for such loans, including the
                 Mortgage Agreement (collectively, the “Loan Documents”). According to its
                 public tariff on file with the HPUC, other providers of communications services
                 (including video) are permitted to use SIC’s facilities (including conduits). This
                 evidences that SIC is the owner of a telecommunications network that that provides
                 service to the Hawaiian Home Lands, including all conduits necessary for the
                 operation of that network.
                 SIC eventually defaulted on its obligations, leading to the Litigation. After
                 obtaining its judgment against SIC, RUS levied upon the assets of SIC used to
                 provide telephone service, including those financed by RUS and as described in
                 Loan Documents. Through public auction conducted by the US Marshal, RUS
                 now seeks to sell the assets upon which it has levied.

             2. The Trustee Sale. During the pendency of the Litigation, an SIC affiliate, Paniolo
                Cable Company, entered bankruptcy. In the course of that bankruptcy, the Paniolo
                Trustee, Michael Katzenstein (the “Trustee”), obtained a judgment against SIC for
                amounts owed by SIC to Paniolo. In partial satisfaction of such judgment, the
                Trustee obtained, through levy and a marshal sale, certain assets that had previously
                belonged to SIC, including central offices, conduits and manholes, and the
                associated entitlements underlying such assets. The Trustee subsequently sold
                those assets to HTI pursuant to section 363 of the bankruptcy code (the “Trustee
                Sale”). As the successful bidder in the Trustee Sale, HTI now owns such conduits
                and associated entitlements previously owned by SIC. Importantly, included in
                the assets HTI purchased in the Trustee Sale was a portion of SIC’s interest in
                License Agreement No. 372 issued by the State of Hawaii Department of Hawaiian
                Home Lands (“DHHL”) (such license, the “372 License”) necessary for HTI’s
                ownership and operation of former SIC assets it purchased. HTI and DHHL also
                entered into Right-of-Entry Agreement No. 704 that also provides for the access
                rights necessary for HTI to operate the assets purchased in the Trustee Sale
                independent from the 372 License.


  1
   The term “telephone service” as used herein is as defined in the Rural Electrification Act of
  1936 as amended, Section 203(a).


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          3. Hawaiian Telcom, Inc. HTI is a leading provider of integrated communications
             services in the state of Hawaii, including High-Speed Internet, data, video
             entertainment, and local and long-distance voice services. As a state-wide provider,
             HTI already provides telecommunications services to customers within the
             Hawaiian Home Lands and surrounding areas. By virtue of its purchase of the
             assets in the Trustee Sale, it also operates a middle-mile network in the Hawaiian
             Home Lands to which the SIC network is interconnected and through which the
             SIC Parties continue to provide retail services to the Hawaiian Home Lands. HTI
             has all federal and state licenses and entitlements (including the portion of License
             372 formerly owned by SIC) necessary to do so. It also has in place a negotiated
             letter of authorization (“HT LOA”) with Team Telecom which governs the use and
             operation of its telecom assets. As a long-standing carrier in Hawaii, HTI also has
             connection agreements and access agreements already in place with virtually every
             other communications provider in the state.

          4. HTI’s Proposed Bid. Pursuant to this Bid, HTI proposes to purchase select
             physical assets, specifically the Conduit System (as defined below), which Conduit
             System is essential for the expansion of advanced fiber networks into the Hawaiian
             Homelands. This potential expansion aims to enhance connectivity for
             beneficiaries, residents, businesses, and community anchor institutions on the
             Hawaiian Home Lands, leveraging the capabilities of HTI’s state-of-the-art fiber
             network. It is important to note that while HTI has considered purchasing SIC’s
             network elements and customer relationships, it has deliberately chosen not to
             include such assets in its Bid. The reasons for that are several. First, the SIC
             network itself is outdated, and generally not capable of providing modern
             broadband services to the beneficiaries. Second, while HTI has deep experience in
             operating legacy networks such as the SIC network, HTI believes the uninterrupted
             provision of legacy services and switch-over to modern networks can be
             significantly de-risked by leaving the operations of the legacy SIC network in the
             hands of its current operators. In this way, switch-over issues are avoided, and the
             ability of customers to gain access to the modern telecommunications networks of
             HTI and other carriers is accelerated. Third, HTI envisions that a transaction
             involving only the Conduit System is less likely to require lengthy regulatory
             hearings and approvals (including with Team Telecom for the transfer of network
             elements). Instead, HTI envisions that the Conduit System can instead be
             incorporated within HTI’s existing authorizations, including HTI’s existing federal
             and state licenses and its negotiated HT LOA. Similarly, HTI understands that SIC
             also has a Letter of Authorization for its SIC network. HTI therefore further
             envisions that the deal will be further de-risked in that SIC will continue to operate
             the SIC network under the terms of its own Letter of Authorization, thus avoiding

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             the risk inherent of having a lengthy delay for the transfer of all network
             authorizations (including a new Letter of Authorization) to a successor operator.
             For these reasons, HTI’s Bid does not include the acquisition of SIC’s broader last
             mile network or its customer relationships (other than carriers). Nonetheless, as
             more fully described below, HTI confirms that it is committed to providing non-
             discriminatory access to the Conduit System to other carriers, including SIC and
             any subsequent owners of SIC’s customer relationships, in order to ensure
             continuity of service to beneficiaries. HTI’s acquisition of the Conduit System will
             allow HTI the ability to integrate it with HTI’s existing infrastructure, and an
             appropriate return on RUS’ significant investment in the Hawaiian Home Lands
             can therefore be preserved and amplified. By placing the Acquired Assets (as
             defined below) in the hands of a responsible, experienced local operator, RUS can
             assure that the assets are more rapidly deployed in a manner which will result in
             the Hawaiian Home Lands’ beneficiaries having a modern, superior choice for their
             telecommunications and broadband needs.
             Finally, in the event that other bids are received for assets that are not included in
             HTI’s Bid, HTI requests that it remain a Qualified Bidder for all purposes, including
             for such other assets.

     B. SUMMARY OF SALE TERMS

        1.   Identity of Assets to be Purchased: HTI wishes to bid on certain assets (the
             “Acquired Assets”) owned by SIC as identified as follows:

             a. The Acquired Assets:

                        1. Conduit System. All conduits, ducts, subducts, innerducts,
                           manholes, handholes, pullboxes, riser conduits, connected panel
                           boxes and the like which are generally interconnected and capable
                           of protecting and housing underground communications cables and
                           facilities used in the provision of telephone service, in each case (a)
                           as described and financed by RUS (or as replacements as set forth
                           in the RUS Loan Documents) and (b) as evidenced by SIC’s public
                           tariff as being used historically by SIC to provide telephone service
                           to customers on the Hawaiian Home Lands including voice, bundled
                           internet, long-distance, VOIP, and data services, each as more fully
                           set forth in SIC’s PUC Tariff No. 1 and its amendments
                           (collectively, the “Conduit System”), in each case to the extent such
                           assets have not already been purchased by HTI pursuant to the
                           Trustee Sale.




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                             2. Entitlements. All existing and pending entitlements to the extent
                                not already owned by HTI,2 including, SIC’s interests in all
                                memoranda of agreement, easements, leases, license agreements
                                (including any interest in License 372), letters of approval, special
                                area management permits, franchises, and rights of way or rights of
                                interest, necessary to build, construct, repair, maintain, and operate
                                the Conduit System. For avoidance of doubt, pursuant to this Sale,
                                HTI intends to acquire such entitlements, or an additional interest in
                                any entitlements including License 372, to the extent that (a) HTI
                                does not already own such entitlements and (b) such entitlements,
                                or expansion of interest in any existing entitlements owned by HTI,
                                are necessary for HTI to own and operate the Conduit System.

                 b. The Excluded Assets: All assets, network elements, contracts, relationships
                    and rights of SIC that do not constitute Acquired Assets (the “Excluded
                    Assets”) shall not be purchased by HTI as part of the Sale. For the avoidance
                    of doubt, the Excluded Assets will include SIC’s retail customer relationships
                    and any entitlements not necessary for HTI to operate the Conduit System.

                 c. Additional Assets: In the event there are Qualified Bidders for additional assets
                    other than the Acquired Assets, HTI reserves the right to participate in the
                    Auction for such other assets, in accordance with the Sales Procedure Order.

         2.      Contact Information: Plaintiff and the Marshal should direct all communications
                 regarding this bid to Daniel Masutomi (daniel.masutomi@hawaiiantel.com, 808-
                 927-3058), Mark Fahner (mark.fahner@altafiber.com, 513-477-0499), and Tom
                 Bosse (tom.bosse@altafiber.com, 513-703-9447). Technical questions about the
                 Acquired Assets and the Excluded Assets can be directed to Daniel Masutomi.

         3.      Purchase Price:

              a. The Base Purchase Price: Provided it is chosen as the Successful Bidder and
                 pursuant to the specific terms outlined in this Bid, including entry by the Court of
                 the Sale Order (as defined below), HTI will make a cash payment of five hundred
                 thousand dollars ($500,000.00) in consideration for the Acquired Assets (the
                 “Purchase Price”). Consistent with the Sale Procedures Order, the Purchase Price
                 shall be paid to the Marshal within (7) days of the conclusion of the Auction but

  2
    As noted above, through the Trustee Sale HTI has already purchased many of the entitlements
  underlying the Conduit System. Furthermore, as a long-standing provider of telecommunications
  services in the state of Hawaii, including in the Hawaiian Home Lands, HTI already possesses an
  international and domestic 214 license from the FCC and all requisite state authorizations. HTI
  also entered into a negotiated HT LOA governing the security and operations of its telecom assets.
  HTI believes the HT LOA will also govern the Acquired Assets as well.
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                shall only be released to the Plaintiff upon the closing of the Sale. In the event the
                Sale Order is not entered, or the Sale does not otherwise close for any reason, the
                balance of the Purchase Price in excess of the Good Faith Deposit shall be returned
                to HTI (with return of the Good Faith Deposit addressed in paragraph B.8 below).

             b. The Purchase Price Enhancement: As more fully set forth in Paragraph B.12
                below, in an effort to facilitate certainty of outcome, a smooth transition of the
                Acquired Assets and more effective deployment of enhanced broadband throughout
                the Hawaiian Home Lands, HTI is prepared to enter into a settlement (on terms
                defined below) with the RUS, SIC and SIC’s affiliates. While not a condition of the
                Sale, if a settlement is entered by RUS, SIC and SIC’s affiliates consistent with the
                terms of the Settlement Proposal (as defined below), HTI will increase the Purchase
                Price by an additional five hundred thousand dollars ($500,000.00).

        4.      Due Diligence: As set forth in Paragraph 4 of the Term Sheet, SIC and each of its
                affiliates (the “SIC Parties”) will confirm in writing that SIC is the sole owner of
                the Acquired Assets. This provision is a material element to the Bid, and no sale
                shall be consummated by HTI absent such written confirmation in a form
                acceptable to HTI. If SIC asserts that any other party owns a portion of the
                Acquired Assets, it shall identify that party and the assets owned, and HTI shall
                have the option of revoking this bid if such Acquired Assets are not deemed assets
                of SIC subject to the Sale.

        5.      Irrevocable: HTI confirms that this Bid is irrevocable unless and until Plaintiff
                accepts another bid and this Bid is not selected as a Backup Bid or SIC identifies
                another party as owner of any portion of the Acquired Assets. This Bid will be
                immediately revocable and non-binding if HTI is not designed the Successful
                Bidder or the Backup Bidder for the Acquired Assets, SIC identifies another party
                as owner of any portion of the Acquired Assets, or the Court fails to enter an order
                confirming the Sale in a form acceptable to HTI.

        6.      No Contingencies or Conditions: HTI states that this Bid is made subject to the
                terms set forth herein and is not otherwise subject to any contingencies or
                conditions that are inconsistent with the terms of the Sale Procedure Order.

        7.      Backup Bid: HTI confirms that this Bid will serve as a Backup Bid if the Bid is
                the highest and best bid after the Successful Bid.

        8.      Good Faith Deposit: On this date, HTI mailed the Good Faith Deposit of one
                hundred thousand dollars ($100,000.00) in the form of a certified check payable to
                the order of the United States Marshal for the District of Hawaii to the address
                identified in the Sale Procedures Order. A copy of the certified check and the
                mailing documentation has been provided under separate cover. If the Court does
                not enter the Sale Order confirming the Sale to HTI, of if, after entry of the Sale

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                    Order, the Sale does not close for reasons outside of HTI’s control, then the Good
                    Faith Deposit shall be returned to HTI.

            9.      Evidence of Consideration: HTI is well-capitalized and has ample access to the
                    financial resources necessary to complete this transaction and deploy the Acquired
                    Assets. Financial reports for the corporate family of which HTI is part are publicly
                    available. The most recent annual report on Form 10-K for the most recent fiscal
                    year of HTI’s corporate parent, as filed with the Securities & Exchange
                    Commission, is publicly available.3 As of December 31, 2023, the consolidated
                    company held $268.0 million of short-term liquidity, comprised of $9.1 million of
                    cash and cash equivalents, and the remainder in undrawn capacity on lending
                    facilities. This liquidity is available to HTI. There have been no developments
                    since this filing that have materially altered the available liquidity or HTI’s ability
                    to access it.

            10.     Proposed Use of Property: As set forth above, HTI intends to leverage RUS’s
                    substantial existing investment in the Hawaiian Home Lands by integrating the
                    Acquired Assets into HTI’s existing state-of-the art telecommunications footprint
                    already in certain parts of the Hawaiian Home Lands and surrounding areas. HTI
                    believes such integration will extend and accelerate the ability to provide modern
                    communications services (including broadband), information services and
                    associated communications services to residents of the Hawaiian Home Lands.
                    Importantly, as more fully described in Paragraph B.11 below, HTI already has
                    existing access and network connection agreements with virtually every
                    telecommunications operator in the state of Hawaii. By placing the Acquired
                    Assets into the hands of a well-regarded, experienced local telecommunications
                    operator already providing a full suite of modern communications services within
                    the Hawaiian Home Lands, and with intercarrier access, conduit occupancy, and
                    network agreements already in place with other carriers and service providers
                    throughout the state of Hawaii, HTI believes that the Sale can significantly reduce
                    the timing and de-risk the process through which the RUS investment and the
                    Acquired Assets are made available to carriers deploying modern communications
                    services in the Hawaiian Home Lands.

            11.     Access Provided: As a regulated telecommunications carrier, HTI offers access to
                    its physical facilities and its network on a non-discriminatory basis in a manner
                    consistent with FCC regulations and other applicable laws and regulations.
                    Consistent with such standard, non-discriminatory industry practices and HTI
                    policy, any telecommunications service provider who wishes to use and access
                    available conduit capacity or physical facilities must do so pursuant to a standard
                    conduit occupancy, network or facility agreement directly with HTI, pursuant to

  3
      The report is available here:
  https://www.sec.gov/ix?doc=/Archives/edgar/data/716133/000095017024035762/ck0000716133-20231231.htm.

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                 which usage is requested and standard conditions governing access and occupancy,
                 including items such as insurance, fees, compliance and security, are documented
                 and agreed by both parties.

                 In accordance with Paragraph 6 of the Term Sheet, HTI confirms that available
                 capacity on the Conduit System, and HTI’s network, will be made available to any
                 telecommunications service provider offering communications services on the
                 Hawaiian Home Lands (including for avoidance of doubt the SIC Parties) on the
                 same non-discriminatory, contracted basis. As noted above, HTI has existing
                 occupancy or connection agreements with virtually all telecommunications carriers
                 in the state of Hawaii. Generally, for such carriers with existing agreements who
                 are not in default thereunder, occupancy requests for the Conduit System and
                 requests for network access will be covered by those existing agreements on those
                 existing terms. For other carriers without such agreements, including certain of the
                 SIC Parties, such carriers will be required to enter into industry-standard occupancy
                 or connection agreements for use of available capacity on the Conduit System or
                 connection to the HTI network. Upon expiration of a reasonable period following
                 the closing of the Sale (not to exceed 120 days), HTI reserves the right at its sole
                 discretion to disconnect service or terminate occupancy, as applicable, for any
                 carriers occupying the Conduit System or connected to HTI’s network who have
                 failed to enter into such industry-standard agreements, or who have failed to comply
                 with any such existing agreements.

                 For avoidance of doubt, the access provided to the any third parties, including the
                 SIC Parties, would be for their own use and the usage rights would not be alienable.
                 Parties shall only be able to gain access to the Conduit System or the HTI network
                 through their own agreements with HTI and not any previous arrangements with
                 SIC.

        12.      Proposed Settlement: In order to ensure the most effective leveraging of RUS’
                 existing investment and mission to facilitate the deployment of modern
                 telecommunications services to underserved areas such as the Hawaiian Home
                 Lands, if the Sale is consummated with HTI, HTI is willing to offer RUS and the
                 SIC Parties a settlement, subject to final documentation, which shall include the
                 following material terms (the “Settlement Proposal”):

              a. RUS and the SIC Parties waive any further claims to the Acquired Assets and any
                 assets HTI acquired by virtue of the Trustee Sale;

              b. The SIC Parties agree to: (i) waive and release all claims against HTI existing as
                 of the date of the settlement; (ii) no longer contest any use by HTI of the
                 entitlements including License 372 (both as acquired under the Trustee Sale, and
                 as comprising a part of the Acquired Assets hereunder) or any other entitlement or
                 agreement to operate on the Hawaiian Home Lands: (iii) promptly port all numbers
                 to HTI as requested by customers: (iv) dismiss all pending litigation against HTI,

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                  including an immediate dismissal of the current appeal of the rulings in the Paniolo
                  bankruptcy; and (v) agree that the SIC Parties will not in any way oppose, directly
                  or indirectly, and will affirmatively support any of HTI’s efforts to obtain a license,
                  access rights or right-of-entry for its operations on the Hawaiian Home Lands.

               c. Provided that the SIC Parties obtain and are otherwise in compliance with the
                  access and connection agreements described in paragraph B.11 above: (i) HTI will
                  defer and then forgive the access and connection fees set forth in their connection
                  or access agreements and the applicable tariffs, for a period of 120-days from the
                  closing of the Sale; and (ii) HTI will waive these past due trade payables for
                  services previously provided to the SIC Parties under their existing agreements with
                  HTI. 4

                  For the avoidance of doubt, acceptance of the Settlement Proposal is not a condition
                  to HTI’s Bid, and RUS and the SIC Parties may decline to enter the Settlement. In
                  that instance, HTI would provide the SIC Parties access consistent with the above
                  paragraph 11, and HTI reserves all rights available in law and equity, including but
                  not limited to the right to disconnect access and to pursue past due amounts owed
                  by the SIC Parties to HTI as the result of their use of HTI’s network or otherwise.
                  Also, if the Settlement is not accepted by any of the RUS or the SIC Parties, then
                  HTI will not offer the Purchase Price enhancement set forth in paragraph B.3(b)
                  above.

         13.      Deal Certainty. Because HTI already possesses virtually all licenses necessary to
                  operate the Acquired Assets, including international and domestic 214 licenses,
                  PUC authority, and importantly, the HT LOA governing the security and operation
                  of telecommunications assets, HTI believes a Sale to HTI can be consummated
                  more quickly with HTI than a potential sale with other potential acquirers. A Sale
                  in which the existing network remains operated by SIC’s existing LOA also
                  obviates the need for a lengthy review and negotiation which would be required for
                  the transfer of such LOA to a different buyer. The Sale is also de-risked in that HTI
                  already has existing access and network agreements with virtually every other
                  carrier in the state, and wide experience in administering such agreements. While
                  HTI is an experienced operator of legacy telecom networks, its experience also

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   SIC’s insolvency is well-known and publicized, including a consistent failure to pay trade
  payables for their historical and current use of HTI telecommunication services and colocation
  services at non-discriminatory rates, which past due amounts HTI estimates in the millions of
  dollars. HTI has exhibited unusual patience with regard to the failure of the SIC Parties to keep
  their trade payables current, even as the SIC Parties have managed to find sufficient cash to fund
  a maelstrom of litigation over every aspect of communications on the Hawaiian Home Lands. The
  net result is that not only has HTI had to expend considerable legal fees, but through the provision
  of significant unpaid services to the SIC Parties, HTI has essentially been subsidizing their
  operations and the provision of telephone services to the beneficiaries on the Hawaiian Home
  Lands.
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                 informs that the existing SIC network be best administered by existing operators.
                 If the Settlement Proposal is accepted, HTI will continue to subsidize the SIC
                 Parties’ legacy operations while customers are migrated to the modern
                 telecommunications networks of HTI and other carriers, thus helping RUS achieve
                 its goal of facilitating an accelerated deployment of broadband in the Hawaiian
                 Homelands.

         14.     Sale Confirmation Order: The closing of the Sale, and any obligation of HTI to
                 close the sale, will be subject to entry of a final sale confirmation order by the Court,
                 not subject to appeal, that is acceptable in all respects to HTI and includes
                 provisions that provide as follows (the “Sale Order”): 5

                 a.      HTI’s Bid and Sale are consistent with, and HTI has complied in all respects
                         with, the Sale Procedures Order, and SIC, any affiliate of SIC and all
                         persons claiming by, through or under SIC, are barred from challenging via
                         litigation or otherwise (i) the Trustee’s levy and execution of the Acquired
                         Assets; or (ii) the sale and transfer of the right, title and interest at law or in
                         equity in any of the Acquired Assets to HTI.

                 b.      The Sale shall comply with all applicable laws and regulations attendant to
                         the ownership of the Acquired Assets, and if any regulatory approvals are
                         required, the Sale shall not close until such regulatory approvals, if any, are
                         obtained.

                 c.      The Acquired Assets include all elements of the Conduit System including
                         as financed by the RUS and including as used by SIC to offer and provide
                         telephone and other telecommunications services from time to time
                         including tariffed voice, long-distance, VOIP, bundled internet and data.
                         SIC owns all exclusive right, title, and interest in the Acquired Assets
                         necessary to transfer and convey the Acquired Assets in their entirety to the
                         Marshal and to HTI.

                 d.      SIC and any other person in possession of the Acquired Assets shall
                         relinquish possession of and turn over the Acquired Assets to HTI upon the
                         closing of the Sale and, upon request of HTI, the Court shall enter a Writ of
                         Possession in favor of HTI to this effect. Pursuant to paragraph 3 of the
                         Term Sheet, the SIC Parties will also actively cooperate with HTI on any
                         porting requests made after the Sale.



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   In the event that HTI ultimately acquires assets in addition to the Acquired Assets (as defined
  above), “Acquired Assets” as used in this paragraph shall be deemed to include the assets as
  actually purchased in the Sale.
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                 e.      Upon closing of the Sale, SIC, its affiliates and all persons claiming by,
                         through or under them shall be perpetually barred of and from any and all
                         right, title interest and claims at law or in equity, in the Acquired Assets and
                         every part thereof. Any use of the Acquired Assets or the HTI network by
                         SIC or any of its affiliates shall solely be by virtue of an access or
                         connection agreement entered into with HTI.

                 f.      The Acquired Assets shall be sold to HTI free and clear of any and all liens,
                         interests, claims, interests and encumbrances of any kind, including any
                         restrictions on transferability, restrictions on use, or other similar
                         restrictions.

                 g.      HTI is not a successor-in-interest to SIC and the purchase of the Acquired
                         Assets shall not expose HTI to any successor liability.

                 h.      HTI is purchasing the Acquired Assets in good faith and for adequate
                         consideration and the sale is not a fraudulent transfer.

                 i.      HTI shall not have any liability, responsibility or obligation relating to
                         Acquired Assets prior to the closing of the Sale, and SIC shall continue to
                         operate the Acquired Assets in compliance with law and in the ordinary
                         course of business until the closing. Specifically, and without limitation,
                         SIC shall promptly process and honor all number porting requests and
                         conduit occupancy requests.

                 j.      HTI shall not assume any liabilities, duties or obligations with respect to the
                         Excluded Assets.

          Please contact the individuals listed in paragraph B.2 above with any questions with respect
  to the foregoing. We look forward to participating in the Auction to the extent there are other
  Qualified Bids.



                                                 Very truly yours,



                                                 By: /s/ Su Hwa Shin Meisenzhal
                                                       Name: Su Hwa Shin Meisenzahl
                                                       Title: President, Hawaiian Telecom




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